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 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00267-TLN
12                                 Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   FERLANDO CARTER,                                    DATE: November 21, 2013
                                                         TIME: 9:30 a.m.
15                                 Defendant.            COURT: Hon. Troy L. Nunley
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on November 21, 2013.

21          2.      By this stipulation, defendant now moves to continue the status conference until January

22 30, 2014, and to exclude time between November 21, 2013, and January 30, 2014, under Local Code T4.

23          3.      The parties agree and stipulate, and request that the Court find the following:

24                  a)     The United States has represented that the discovery associated with this case

25          includes eight-eight pages of paper discovery and fifty CDs containing audio and video

26          recordings. All of this discovery has been produced directly to counsel.

27                  b)     Counsel for defendant desires additional time consult with his client, review the

28          discovery produced in this case, investigate the case, and discuss potential resolution of this


      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT                                             UNITED STATES V. CARTER
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 1          matter with the United States.

 2                  c)     Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him the reasonable time necessary for effective preparation, taking into

 4          account the exercise of due diligence.

 5                  d)     The United States does not object to the continuance.

 6                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of November 21, 2013 to January 30,

11          2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

12          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

13          of the Court’s finding that the ends of justice served by taking such action outweigh the best

14          interest of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

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20
     Dated: November 15, 2013                                 BENJAMIN B. WAGNER
21                                                            United States Attorney
22
                                                              /s/ JUSTIN L. LEE
23                                                            JUSTIN L. LEE
                                                              Assistant United States Attorney
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25
     Dated: November 15, 2013                                 /s/ DOUGLAS BEEVERS
26                                                            DOUGLAS BEEVERS
27                                                            Counsel for Defendant
                                                              Ferlando Carter
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      STIPULATION REGARDING EXCLUDABLE TIME               2
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 3                                      FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED this 15th day of November, 2013

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                                                    Troy L. Nunley
 9                                                  United States District Judge

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     STIPULATION REGARDING EXCLUDABLE TIME      3
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